      Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 1 of 30



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,

                            Plaintiff,

                    v.                           Case No. 17-CV-05821 (RJS)

RONALD DONALD BRUCE GENOVESE, B.G.               ORAL ARGUMENT
CAPITAL GROUP, LTD., and ABRAHAM "AVI"           REQUESTED
MIRMAN

                            Defendant.


           MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
              ABRAHAM MIRMAN'S MOTION TO DISMISS




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             Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 2 of 30



                                                  TABLE OF CONTENTS

                                                                                                                                   Page

PRELIMINARY STATEMENT .....................................................................................................1

FACTUAL BACKGROUND..........................................................................................................2

LEGAL STANDARD....................................................................................................................10

ARGUMENT.................................................................................................................................10

  I. The SEC Does Not Adequately Allege Violations
          of Section 5(a) or (c) of The Securities Act ....................................................................10

             A.      The SEC Fails to Plead that Mirman Was the "But For" Reason for The Sale of
                     Unregistered Liberty Silver Stock from the BGC Account ...................................11

             B.      The SEC Fails to Plead that Mirman Was the "But For" Reason for The Offer of
                     Look Back's Unregistered Shares of Liberty Silver...............................................13

  II. The SEC Does Not Adequately Allege Violations
          of Section 17(a)(1) of the Securities Act ........................................................................15

             A.      Mirman Did Not Have Motive or Opportunity to Commit Fraud .........................16

             B.      Mirman Had No Actual Knowledge of Genovese's Scheme.................................17

             C.      Mirman Was Not Reckless In Not Knowing About Genovese's Scheme .............17

  III. The SEC Does Not Adequately Allege that Mirman
          Aided and Abetted Violations of Section 17(a)(1) and (3)
          and Section 10(b) and Rule 10b-5(a) and (c)..................................................................22

             A.      Mirman Had No Actual Knowledge of Genovese's Scheme.................................22

             B.      Mirman Did Not Substantially Assist Genovese's Scheme ...................................23

  IV. The SEC Does Not Adequately Allege that Mirman
         was Negligent Under Section 17(a)(3) ...........................................................................23

CONCLUSION..............................................................................................................................25
            Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 3 of 30



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Armstrong v. McAlpin,
   699 F.2d 79 (2d Cir. 1983).......................................................................................................23

Ashcroft v. Iqbal,
   556 U.S. 662 (2009).................................................................................................................10

ATSI Commun., Inc. v. Shaar Fund, Ltd.,
   493 F.3d 87 (2d Cir. 2007).......................................................................................................10

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007).................................................................................................................10

In re CBI Holding Co., Inc.,
    419 B.R. 553 (S.D.N.Y. 2009).................................................................................................21

Chill v. Gen. Elec. Co.,
   101 F.3d 263 (2d Cir. 1996).........................................................................................15, 16, 19

JP Morgan Chase Bank v. Winnick,
   406 F. Supp. 2d 247 (S.D.N.Y. 2005)......................................................................................23

Kalnit v. Eichler,
   264 F.3d 131 (2d Cir. 2001)...............................................................................................16, 17

Krys v. Pigott,
   749 F.3d 117 (2d Cir. 2014).....................................................................................................10

Pope Investments II, LLC v. Deheng L. Firm,
   10 CIV. 6608 LLS, 2013 WL 3946126 (S.D.N.Y. July 31, 2013) ..........................................22

Prickett v. New York Life Ins. Co.,
    896 F. Supp. 2d 236 (S.D.N.Y. 2012)......................................................................................19

Rolf v. Blyth, Eastman Dillon & Co.,
   570 F.2d 38 (2d Cir. 1978).................................................................................................15, 17

Rombach v. Chang,
   355 F.3d 164 (2d Cir. 2004).....................................................................................................10

Ross v. Bolton,
   639 F. Supp. 323 (S.D.N.Y. 1986) ..........................................................................................23




                                                                   ii
CPAM: 13299075
            Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 4 of 30



SEC v. Cavanagh,
   445 F.3d 105 (2d Cir.2006)......................................................................................................11

SEC v. Murphy,
   626 F.2d 633 (9th Cir. 1980) ...................................................................................................11

Saltz v. First Frontier,
    LP, 782 F. Supp. 2d 61 (S.D.N.Y. 2010).................................................................................19

SEC v. Apuzzo,
   689 F.3d 204 (2d Cir. 2012).....................................................................................................23

SEC v. Chinese Consol. Benev. Ass'n, Inc.,
   120 F.2d 738 (2d Cir. 1941).....................................................................................................11

SEC v. Ginder,
   752 F.3d 569 (2d Cir. 2014).....................................................................................................24

SEC v. Lek Securities Corp.,
   2017 WL 3705077 (S.D.N.Y. Aug. 25, 2017).........................................................................15

SEC v. Mudd,
   885 F. Supp. 2d 654 (S.D.N.Y. 2012)................................................................................23, 24

SEC v. Pimco Advisors Fund Mgmt. LLC,
   341 F. Supp. 2d 454 (S.D.N.Y. 2004)......................................................................................22

SEC v. Universal Exp., Inc.,
   475 F. Supp. 2d 412 (S.D.N.Y. 2007)................................................................................11, 15

SEC v. Universal Major Indus.,
   546 F.2d 1044 (2d Cir. 1976).............................................................................................11, 12

SEC v. Wey,
   246 F. Supp. 3d 894, 912 (S.D.N.Y. 2017)..................................................................22, 24, 25

SEC v. Zubkis,
   97 CIV 8086 JGK, 2000WL 218393 (S.D.N.Y. 2000)......................................................16, 17

Shanghai Weiyi Intern. Trade Co., Ltd. v. Focus 2000 Corp.,
   15 CIV. 3533 CM, 2015 WL 6125526 (S.D.N.Y. Oct. 16, 2015)...........................................23

Shields v. Citytrust Bancorp, Inc.,
    25 F.3d 1124 (2d Cir. 1994)...............................................................................................19, 22

Tarsavage v. Citic Tr. Co., Ltd.,
   3 F. Supp. 3d 137, 145–46 (S.D.N.Y. 2014)............................................................................25




                                                                 iii
CPAM: 13299075
             Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 5 of 30



U.S. v. Am. Intl. Group, Inc.,
   16-CV-5694 (KBF), 2017 WL 3610514 (S.D.N.Y. Aug. 21, 2017) .......................................17

Statutes

15 U.S.C. § 77e ..............................................................................................................................11

15 U.S.C. § 77q(a)(1).....................................................................................................................15

Other Authorities

Fed. R. Civ. P. 9(b) ................................................................................................................ passim

Fed. R. Civ. P 12(b)(6)...............................................................................................................1, 10




                                                                      iv
CPAM: 13299075
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 6 of 30



       Defendant Abraham "Avi" Mirman ("Mirman") respectfully submits this memorandum

of law in support of his motion to dismiss the Complaint ("Complaint") filed by Plaintiff United

States Securities and Exchange Commission ("SEC") for failure to state a claim upon which

relief may be granted pursuant to Fed. R. Civ. P 12(b)(6), and for failure to comply with the

pleading requirements of Fed. R. Civ. P. 9(b).

                                PRELIMINARY STATEMENT

       Stripped of all the conclusory allegations and unsupported collective references to "they"

"the defendants," and "Mirman and Genovese," the Complaint alleges only two things against

Mirman: that he aided and abetted Genovese's alleged fraudulent stock promotion and that he

"directly unlawfully distributed" Genovese's stock. Compl. at ¶1. To prevail on the first theory

the SEC must allege that Genovese made fraudulent statements or omissions, that Mirman knew

they were false, that Mirman intended to further Genovese's fraudulent communications and that

Mirman did something specific to further the making of the fraudulent statements. Conclusory

statements to that effect are insufficient. These elements must be alleged with particularity,

meaning that the SEC must allege sufficient facts from which a fact finder could find the

required elements, including specifically what Mirman did to intentionally further the making of

these alleged fraudulent statements or omissions. To prevail on the second theory, since Mirman

was not a seller of the stock, the SEC must allege that Mirman was the but for cause of the sales

in contravention of the applicable registration requirements.       It is not enough that he did

something connected to the sales. The SEC must allege that without Mr. Mirman's participation,

the sales would not have occurred. Because the SEC fails to plead sufficient facts to sustain

either theory, the Complaint should be dismissed in its entirety.
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 7 of 30



                                 FACTUAL BACKGROUND

A.     Defendant Avi Mirman

       For approximately 12 months in 2012, defendant Avi Mirman was an employee of John

Thomas Financial ("JTF"), a former registered broker-dealer that was controlled and indirectly

owned by JTF's CEO, Anastasios Belesis ("Belesis"). Compl. at ¶¶ 3, 19, 21, 22. Mirman

served as the head of JTF's Investment Banking Department and not as a broker. Id. at ¶¶ 19, 22.

Mirman held several securities licenses and was a registered representative through JTF even

though his duties were those of an investment bank manager. Id. at ¶ 19. Mirman is not an

attorney and was not responsible for JTF's retail compliance processes or procedures. See id. at

¶ 97. In short, Mirman's involvement in the transactions that form the core of the Complaint was

to (1) introduce Genovese to Belesis for which he ultimately received a commission; (2)

introduce Genovese at a presentation for brokers; (3) sign a broker's representation letter, which

could have been signed by anyone at JTF including Belesis, for a transaction that was never

consummated; and (4) perform his duties as head of investment banking for JTF, which included

determining whether Genovese would consider making an investment in JTF, ultimately

resulting in a $2 million dollar loan from Genovese to JTF.

B.     Liberty Silver's and Genovese's Alleged Scheme

       According to the SEC, beginning in 2010, long before Mirman even worked at JTF, the

founders and sole officer and director of Liberty Silver ("Liberty Silver Owners"), a penny stock

listed on the Toronto Stock Exchange ("TSX") until 2014, Compl. ¶ 20, "devised a stock

manipulation and promotion scheme that would inflate the price and trading volume for the

stock," Id. at ¶ 28.

       Between 2011 and July 2012, as part of this scheme, Genovese acquired stock in Liberty

Silver from its managers and on the open market, and established an account in the name of


                                                2
          Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 8 of 30



Outlook Investments at a broker-dealer other than JTF to hold these shares, Id. at ¶¶ 23, 36. By

July 30, 2012, Genovese, or his wholly owned company BGC, allegedly controlled Liberty

Silver through its beneficial ownership of over 10.4 million purportedly unrestricted Liberty

Silver common shares through market purchases and over 25 million shares through private

transactions with Liberty Silver and its affiliates. Id. at ¶ 41, 48.

         Mirman, however, was not aware of any of this, and the Complaint makes no factual

allegations regarding how, when or from whom he would have acquired this knowledge.

Mirman did not work for Genovese, BGC or Liberty Silver.

C.       Genovese's Efforts to Use JTF to Further His Alleged Scheme

         In the summer of 2012, Genovese allegedly expanded his scheme by disseminating false

and misleading promotional materials regarding Liberty Silver and by using JTF as a broker-

dealer to sell inflated Liberty Silver shares. Compl. at ¶ 43. A fair reading of the Complaint is

that most of the contact between Genovese and JTF occurred through Belesis, who owned JTF

and was the person ultimately in charge of the retail brokers. The facts, as opposed to the

unsupported conclusory invective aimed at Mirman, of Mirman's involvement are minimal, and

none of them permit an inference of illegality. The alleged facts are that:

        Genovese and Mirman reconnected in July 2012, Id. at ¶45.

        On August 7, 2012, Genovese forwarded Mirman "a small blurb from [a writer] on
         Liberty Silver," and vaguely noted that "[w]e are working with him for a full blown buy
         recommendation in his September letter." Id. at ¶ 55.

        On or about August 18, 2012, Genovese invited Belesis and Mirman to a meeting where
         "Genovese pitched Mirman and Belesis to sell LBSV to JTF customers. Genovese told
         Mirman and Belesis that he was a significant shareholder in LBSV, that he had purchased
         a large quantity of LBSV shares on the market and through a private placement, and that
         he was interested in increasing LBSV's trading volume." Id. at ¶ 45.




                                                   3
              Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 9 of 30



         During this meeting, Belesis and Mirman, now working as an investment banker, also
          discussed the possibility of Genovese investing $10 or $20 million in JTF. See id. at ¶
          46.

         Genovese was invited to make a presentation to JTF brokers about Liberty Silver. Id.

         Mirman forwarded Genovese's August 7 email containing the "small blurb" about Liberty
          Silver to 1 of the nearly 200 registered representatives. See id. at ¶ 55. The SEC does not
          allege that Genovese's email or the blurb was false or misleading, or that Mirman knew
          or should have known they were. Nor does it allege that the broker acted on the
          information or sold any stock to anyone.

          The SEC does not allege that Genovese told Mirman about his secret arrangement with

the Liberty Silver Owners, his beneficial ownership of Liberty Silver, or what he meant when he

bragged that he was a "significant shareholder" or that he had purchased a "large quantity" of

shares.

          On August 21, 2012, Belesis began soliciting JTF customers to buy Liberty Silver stock.

Id. at ¶ 47. That same day, Genovese began selling shares of Liberty Silver from his Outlook

account. Id. at ¶ 47. The SEC does not allege, because it cannot, that Mirman solicited or sold

Liberty Silver shares to anyone, or communicated with a single purchaser about Liberty Silver,

or directed or controlled any such communications by Belesis or the retail brokers, who were not

under his control or supervision.

D.        Genovese's Initial Attempts to Promote Liberty Silver Stock with JTF

          On August 28, 2012, Genovese made his first presentation to JTF brokers about Liberty

Silver. As with earlier events, the facts of Mirman's involvement are sparse:

              According to the SEC, "Mirman arranged the presentation," whatever that means. Id.
               at ¶ 48.

              Although Mirman is alleged to have "help[ed]" draft a one page document for
               brokers. Id., the document simply included the number of Liberty Silver shares
               outstanding, "but did not disclose . . . Genovese's beneficial ownership." Id. There is
               no allegation that Mirman knew of Genovese's alleged controlling interest through his
               various companies.



                                                    4
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 10 of 30




          Mirman "introduced Genovese to the sales floor by describing him favorably as a
           client, and a wealthy successful investor," and then, along with 100 JTF brokers, sat
           through Genovese's presentation. Id. at ¶ 49.

          Mirman then forwarded a promotional video from Genovese to Belesis, who on his
           own then sent it to the JTF brokers. Id. at ¶ 54.

       The Complaint, however, does not plead any facts specifying how Mirman "arranged" or

"help[ed] draft," that Mirman made any misrepresentations in the document, that he knew or

should have known about Genovese's secret scheme, that Genovese "had commissioned" the

promotional video, that he misrepresented Genovese when introducing him to the brokers, or that

he even made any statements about Liberty Silver at all. See id. at ¶ 54. As noted, Mirman did

not manage, control, supervise or work as a retail broker.

       The Complaint alleges that during the period between late August and early September,

Genovese, Belesis and Mirman exchanged several phone calls and emails on the topic of selling

Liberty Silver shares to JTF customers. Id. at ¶ 63. During one exchange, Genovese informed

Mirman that Genovese "had bought more than 2 million shares of Liberty Silver from 'an

original guy in the deal who had 3,000,000 shares.'" Id. at ¶ 64. In other exchanges, Genovese

forwarded Mirman additional promotional recommendations for Liberty Silver. See id. at ¶¶ 59,

65. Mirman forwarded "some" of the materials to Belesis, and Belesis independently forwarded

"some" of those materials to JTF brokers. Id. at ¶ 65.

       The SEC does not allege that Genovese informed Mirman of his scheme during any of

these exchanges; that there was anything misleading contained in the materials Mirman received;

that Genovese paid for, wrote or otherwise inappropriately obtained any of the materials; or if he

did, that Mirman knew or should have known of Genovese's actions. At most, Genovese sent a

vague "note" to Mirman during this period stating that he was "[w]orking it from my end!!!" Id.




                                                5
           Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 11 of 30



           On September 12, 2012, Genovese gave a second presentation to JTF brokers during

which he touted Liberty Silver's prospects, emphasized its recent increase in share price, and

encouraged the brokers to sell the stock to their customers. Belesis also spoke at the meeting to

"encourage" the brokers to sell more of the stock to their customers. Id. at ¶ 67. Mirman

attended the presentation, but did not speak and had no active role whatsoever.1 Again, the SEC

fails to allege any facts that, during that presentation, Mirman knew or should have known of

Genovese's true ownership of Liberty Silver, or that he secretly paid for promotional

recommendations.

E.         Genovese's Scheme to Sell Liberty Silver Shares from His Outlook Account

           On September 12, 2012, Genovese further proposed to Belesis and Mirman that JTF sell

an unspecified "large block" of Genovese's Liberty Silver shares and that Genovese would also

invest in JTF 50% of the profits he made from that sale. Id. at ¶ 68. As alleged, it was Belesis,

and not Mirman, who was involved in accepting Genovese's proposal, and JTF's attorney, and

not Mirman, who was involved in drafting documentation for a purported loan from Genovese to

the holding company controlled by Belesis. Id. Genovese's loan was "directed . . . to an escrow

account, with a notation that Belesis was the intended beneficiary of the funds," not Mirman. Id.

at ¶ 79.

           The SEC claims that Mirman then "invited" Genovese to open an account at JTF, "with

the understanding" that Genovese would be selling an unspecified "large block" of shares

through it. Id. at ¶ 68. After the account was opened in the name of BGC ("BGC Account"),


1
     The SEC strains to give an active role to Mirman at this presentation, during which he was
     nothing more than a member of the audience, by vaguely asserting that "Mirman provided
     Genovese with access to the JTF sale force for another presentation." Id. at ¶ 67.




                                                6
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 12 of 30



Genovese directed the transfer of 6.6 million shares of Liberty Silver stock from his Outlook

account to his new BGC Account to sell to JTF customers. Id. at ¶ 70. ("the Outlook Stock").

Mirman received the title of "representative of record" for the BGC Account, which entitled

Mirman to commissions on any transactions. See id. at ¶ 69. However, despite having the title

of "representative of record," Mirman did not act as the broker for the BGC Account, did not

sign any documents, did not solicit any customers or make any trades.2 In fact, it was Belesis,

not Mirman, who later sold all of Genovese's stock transferred to the BGC Account to Belesis's

own customers. Id. at ¶ 77.

       A few days later, Genovese "also began preparations for the sale, through JTF, of 6.5

million restricted LBSV shares . . . registered to Look Back [Investments]", a corporation

beneficially owned and controlled by Genovese ("Look Back"). Id. at ¶ 71. 3

       On or about September 20, 2012, Genovese made a third presentation at JTF. Id. at ¶ 75.

Genovese again recommended that the registered representatives solicit their customers to buy

Liberty Silver stock, and that he was "'going into the market and grabbing a little more,' i.e.,

buying more LBSV," without disclosing his intentions to sell some of his own shares. Id.

Belesis and Mirman allegedly attended, and "encouraged" the registered representatives to

recommend Liberty Silver to their customers, "but made no other disclosures." Id.




2
    The SEC asserts that, as representative of record of the BGC Account, Mirman earned over
    $300,000 in commissions. Compl. ¶ 116. The only action allegedly taken in that capacity
    was to instruct the JTF trading clerk "to accept orders placed by Genovese." See id. at ¶ 107.
3
    The SEC makes two conflicting conclusory allegations: that Mirman "knew [Look Back was]
    controlled by Genovese," id. at ¶ 72, but also that Mirman knew nothing about Look Back
    and "made no inquiry into Look Back's status," id. at ¶ 98.




                                                7
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 13 of 30



        However, Belesis himself, and not any of the other registered representatives, sold all of

the 6.6 million Outlook shares to Belesis's own customers that day from the BGC Account. Id.

at ¶ 77. The SEC does not allege that Mirman had any role in the September 20 sale of Liberty

Silver stock to Belesis's customers, and asserts no facts that Mirman knew or should have known

any material information to disclose to the JTF brokers, or that even if he had, that the JTF

brokers solicited, sold or took any action with respect to the sale from the BGC Account.

F.      Genovese's Undisclosed Commissions to Writers

        The SEC alleges that Genovese from time to time paid writers to recommend purchase of

Liberty Silver stock. Id. at ¶¶ 58, 59, 89, 90. Genovese sometimes forwarded a copy of these

recommendations to Mirman. There are no allegations that Mirman knew or should have known

that Genovese paid for, reviewed, edited, or approved these recommendations.4

G.      Genovese's Scheme to Sell Liberty Silver Shares from His Look Back Account

        On or about September 27, 2012, Genovese allegedly furthered his scheme, in part, by

using JTF to attempt to execute the sale of the second block of 6.5 million restricted Liberty

Silver shares ("Look Back Offer"). Compl. ¶ 71; see Sec. E supra. Genovese sought to obtain

an unrestricted stock certificate to resell the restricted securities without registration pursuant to

Securities Act Rule 144's safe-harbor provision. Id. at ¶¶ 92-93.

        The SEC alleges that Mirman conducted a single act with respect to the Look Back Offer:

He signed a "Broker's Representation Letter" affirming that he read the representations in Look

4
     Between August and October 2012, Genovese additionally allegedly made, as well as paid or
     promised payment to others to make, additional false or misleading statements about
     Genovese, BGC and Liberty Silver, including on August 28, September 10, September 27
     and September 28, and one scheduled to be published on October 10. Id. at ¶¶ 86, 90. The
     SEC does not allege that Mirman knew about any of this, received any of these publications,
     or sent them to anyone.




                                                  8
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 14 of 30



Back's "Seller's Representation Letter" and "confirming his role as a broker under the Securities

Act."5 The letter represented that "[a]fter reasonable inquiry, the undersigned is not aware of any

circumstances indicating that [Look Back] is an underwriter with respect to the transaction or

that the sale is part of a distribution of securities of the issuer." Id. at ¶ 96.

        According to the SEC, "[a]s the efforts to clear the shares proceeded, Genovese caused an

account in Look Back's name to be opened at JTF, again with Mirman as the account

representative." Id. at ¶ 71. The SEC does not allege that a JTF account was opened for

Genovese when Mirman signed the Broker's Letter or that Mirman knew or directed that the

account be opened in his name at any time. While further waiting for the Look Back Offer to

clear, Genovese allegedly engaged in a series of "wash trades." Id. at ¶ 105. On October 3,

Genovese instructed the JTF trading clerk to purchase large quantities of Liberty Silver stock

with an "open ticket'" to have the trades aggregated and allocated to his account at the close of

the market to appear as a single large trade. Id. at ¶¶ 106-09. The SEC does not allege that

Mirman ever knew of any wash trades or instructed the JTF trading clerk to accept requests for

an "open ticket" trading scheme.

        On October 3, 2012, JTF's clearing broker-dealer informed JTF that it would not process

the Look Back Offer. Id. at ¶ 110. On October 5, 2012, the SEC suspended trading of Liberty

Silver. Id. at ¶ 114.




5
    The SEC alleges that Belesis solicited his customers and invited certain JTF's representatives
    to solicit their customers to purchase the Look Back shares. Id. at ¶ 101. Again, Mirman did
    not solicit any customers.




                                                    9
             Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 15 of 30



                                           LEGAL STANDARD

            Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a complaint must be

dismissed if it fails to "contain sufficient factual matter, accepted as true, to 'state a claim to relief

that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although the plausibility standard does not

require a showing of probability, it "asks for more than a sheer possibility that a defendant has

acted unlawfully." Id. "'[L]abels and conclusions,' or 'a formulaic recitation of a cause of

action's elements will not do,'" id., and the "[f]actual allegations must be enough to raise a right

to relief above the speculative level." Twombly, 550 U.S. at 545. The court is "not bound to

accept as true a legal conclusion couched as a factual allegation." Krys v. Pigott, 749 F.3d 117,

128 (2d Cir. 2014) (quoting Iqbal, 556 U.S. at 678).

            In addition to the pleading requirements of Rule 12(b)(6), a complaint alleging securities

fraud must satisfy the heightened pleading requirements of Rule 9(b). See ATSI Commun., Inc.

v. Shaar Fund, Ltd., 493 F.3d 87, 99 (2d Cir. 2007). Rule 9(b) requires that a party alleging

fraud "state with particularity the circumstances constituting fraud." Fed. R. Civ. P. 9.6

                                               ARGUMENT

    I.      THE SEC DOES NOT ADEQUATELY ALLEGE VIOLATIONS
            OF SECTION 5(A) OR (C) OF THE SECURITIES ACT

            The SEC has failed to sufficiently allege that Mirman violated Sections 5(a) and 5(c) of

the Securities Act because Mirman was not a necessary participant, and his de minimis activity

6
         Rule 9(b) applies to all of the SEC's claims, regardless of whether scienter is an element of
         the claims, because all the claims sound in fraud. See Rombach v. Chang, 355 F.3d 164, 171
         (2d Cir. 2004) (Rule 9(b)'s heightened pleading standard applies to all claims that "are
         premised on allegations of fraud . . . and is not limited to allegations styled or denominated as
         fraud or expressed in terms of the constituent elements of a fraud cause of action").




                                                      10
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 16 of 30



could not be a substantial factor, in (1) the sale Liberty Silver shares in the BGC Account or

(2) the offer of the Look Back shares. Section 5 requires that all non-exempt securities offered

for sale to the public be registered with the SEC prior to the offer or sale of such securities. See

15 U.S.C. § 77e; see also SEC v. Cavanagh, 445 F.3d 105, 111 (2d Cir. 2006). To state a

Section 5 claim the SEC must show (1) "[t]hat the defendant directly or indirectly sold or offered

to sell securities; (2) that no registration statement was in effect for the subject securities; and (3)

that interstate means were used in connection with the offer or sale." See SEC v. Universal Exp.,

Inc., 475 F. Supp. 2d 412, 422 (S.D.N.Y. 2007).

       The SEC does not allege that Mirman had any direct involvement in the offer or sale of

unregistered securities. Accordingly, Mirman can only be liable if, as an "indirect participant,"

he has "engaged in steps necessary to the distribution of [unregistered] security issues." Id. at

422 (quoting SEC v. Chinese Consol. Benev. Ass'n, Inc., 120 F.2d 738, 741 (2d Cir. 1941)).

"The 'necessary participant test . . . essentially asks whether, but for the defendant's participation,

the sale transaction would not have taken place' – in other words, whether the defendants' acts

were a 'substantial factor in the sales transaction.'" Id. (quoting SEC v. Murphy, 626 F.2d 633,

650-51 (9th Cir. 1980)); see also SEC v. Universal Major Indus., 546 F.2d 1044, 1046 (2d Cir.

1976) (finding liability for individual who was "indispensable" to another's sale of stock).

           A. The SEC Fails to Plead that Mirman Was the "But For" Reason for
              The Sale of Unregistered Liberty Silver Stock from the BGC Account

       The SEC fails to sufficiently allege that Mirman engaged in any act that would make him

a "necessary participant," a "substantial factor" or the "but for" reason in the sale of the shares

from Genovese's BGC Account.

       None of Mirman's alleged conduct, either separately or in the aggregate, was "necessary"

or "substantial" for the sale of securities from the BGC Account. Despite receiving the title of



                                                  11
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 17 of 30



"representative of record" for the BGC Account, Mirman did not act as a broker, did not solicit

any customers, never communicated with a buyer of Liberty Silver securities, never drafted any

sales materials or other communications to buyers of Liberty Silver securities, did not draft or

participate in the drafting of any publicity concerning Liberty Silver, and did not directly cause

or participate in any sales of Liberty Silver securities. Nor does the SEC allege that Mirman

controlled the communications to any buyer of Liberty Silver securities in a way that gave him

control over any omissions in connection with these transactions.

       Moreover, any of the vague "help[]" or "encourage[ment]" that Mirman allegedly

provided regarding Genovese's presentations to JTF brokers could not have been the "but for"

reason for sale of the BGC Account securities. As the SEC alleges, not one of the JTF brokers

sold a single share from the BGC Account. See id. at ¶ 77. In fact, it was Belesis, not Mirman,

who sold all of the stock from Genovese's BGC Account to Belesis's own customers. Id. Not

only was Mirman's de minimis conduct insubstantial or unnecessary, it was wholly irrelevant to

Belesis's sale of the securities from Genovese's BGC Account.7

       The only alleged action that Mirman affirmatively took as a representative of record was

to instruct the JTF trading clerk "to accept orders placed by [the owner of the account]," id. at

¶ 107, as would be the instructions for any account. Simply "inviting" Genovese to open a JTF




7
    Moreover, the SEC does not allege that Mirman misrepresented Genovese in his introduction
    to the JTF brokers, that he had a duty or obligation to make any additional disclosures, or
    that, even if he had such a duty, he possessed the requisite knowledge concerning Genovese
    to make such disclosures.




                                               12
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 18 of 30



account, indeed only after Genovese asked to open a JTF account, cannot be a substantial factor

in Belesis's sale of the securities from Genovese's BGC Account and a Section 5 violation.8

           B. The SEC Fails to Plead that Mirman Was the "But For" Reason for
              The Offer of Look Back's Unregistered Shares of Liberty Silver

       The SEC alleges that Mirman performed a single act -- he signed a "Broker's

Representation Letter," in which he affirmed that he read the representations in Look Back's

"Seller's Representation Letter," and stated "[a]fter reasonable inquiry, the undersigned is not

aware of any circumstances indicating that [Look Back] is an underwriter with respect to the

transaction or that the sale is part of a distribution of securities of the issuer." Compl. ¶ 96. This

Broker's Letter does not establish liability on Mirman's part.

       First, no securities were ever sold pursuant to it.

       Second, the SEC's logic is circular. The Broker's Representation Letter relied on the

Seller's Representation Letter.     The officers of Liberty Silver (the alleged conspirators)

represented "that Look Back did not beneficially own more than 10% of LBSV's shares, and was

not at the time, nor within the preceding three months, an affiliate of LBSV." Id. at ¶¶ 94, 96.

The Look Back shares became eligible for resale only when counsel to Liberty Silver issued an

opinion letter that the applicable Rule 144 requirements had been met. Id. at ¶ 100. The SEC

alleges that the Seller's Representation Letter was a misrepresentation because Genovese had

control of Liberty Silver by virtue of (1) "his beneficial ownership of over 44% of LBSV's

shares," (2) the Liberty Silver's directors ongoing presence on the Board, (3) "Genovese's having


8
    Section 5 liability also cannot be premised on Mirman's alleged receipt of $300,000 in
    commissions in connection with the sale of the BGC Account shares, since there is no
    allegation that the commission itself was a "substantial factor" in the sale, or even that
    Mirman received the commission for any act that was a "substantial factor" in the sale.




                                                 13
           Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 19 of 30



hand-picked LBSV's management and Board and retaining significant influence over them," (4)

"Genovese's engineering of LBSV's listing of its securities on the TSX," (5) "direction . . . of

many financing, publicity and corporate strategies on behalf of [Liberty Silver]", (6) statements

by "Genovese himself claim[ing] to have control over LBSV." Id. at ¶ 95. There is no allegation

of any facts to suggest that Mirman knew any of this. His letter was, according to the Complaint,

procured by the alleged architects of the fraud: Liberty Silver's management.

       The SEC also does not allege any facts that would have put Mirman on notice that

Genovese had specifically conspired with the Liberty Silver Owners to conceal Look Back's

alleged true beneficial ownership of Liberty Silver stock, including in its SEC filings.9 See Sec.

B supra.

       Third, Mirman's execution of the Broker's Representation Letter was a formality. The

letter was not prepared by him, nor did it require his signature. It could have been signed by any

representative of JTF based on the Seller's Representations and work performed by JTF's

compliance and legal department.      Even if the Broker's Representation Letter did make a

difference, which it did not under the circumstances alleged by the SEC, Mirman's involvement

did not.

       As alleged, the Seller's Representation Letter was the product of a coordinated fraudulent

scheme by Genovese and Liberty Silver to misrepresent the true extent of Genovese's ownership




9
    Indeed, Liberty Silver filed Form 10-K reports with the SEC that purported to disclose "each
    person who . . . [beneficially owned] more than 5%" of Liberty Silver's issued and
    outstanding common stock. Id. at ¶ 42. As alleged by the SEC, while Genovese beneficially
    owned at least 44% of Liberty's approximately 80.7 million outstanding shares, id. at ¶ 41,
    his beneficial ownership was not disclosed in any SEC filing, id. at ¶ 42.




                                               14
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 20 of 30



of Liberty Silver, as part of a larger overall scheme to promote and manipulate Liberty Silver

stock. As part of this scheme, Liberty Silver recruited Genovese, Id. at ¶¶ 33, 35, 38-39, 94.

       Indeed, any supposed reliance by Liberty Silver's counsel on the Broker's Representation

Letter and the Seller's Representation Letter in issuing an opinion letter, which at some time later

resulted in the removal of the restrictive legend, was orchestrated by Liberty Silver and

Genovese. Id. at ¶¶ 31, 33, 35, 38-39, 94. The SEC alleges no facts that Liberty Silver's counsel

would not have issued their subsequent opinion letter "but for" Mirman's act of executing the

Broker's Representation Letter, and fails to sufficiently allege that Mirman was a "necessary

participant" and "substantial factor" in the Look Back Offer.

 II.   THE SEC DOES NOT ADEQUATELY ALLEGE VIOLATIONS
       OF SECTION 17(A)(1) OF THE SECURITIES ACT

       Section 17(a)(1) makes it unlawful "to employ any device, scheme, or artifice to defraud"

in offering or selling a security. 15 U.S.C. § 77q(a)(1). "Scienter is a required element for a

violation of § 17(a)(1)." SEC v. Lek Securities Corp., 2017 WL 3705077, at *7 (S.D.N.Y. Aug.

25, 2017). Scienter can be established "either (a) by alleging facts to show that defendants had

both motive and opportunity to commit fraud, or (b) by alleging facts that constitute strong

circumstantial evidence of conscious misbehavior or recklessness." Chill v. Gen. Elec. Co., 101

F.3d 263, 267 (2d Cir. 1996).

       Reckless conduct constitutes "an extreme departure from the standards of ordinary care . .

. to the extent that the danger was either known to the defendant or so obvious that the defendant

must have been aware of it." Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d 38, 47 (2d Cir.

1978) (emphasis added and citation omitted). See, e.g., Universal Exp., Inc., 475 F. Supp. 2d at

427 (defendants reckless in issuing fraudulent press releases based on documents they had




                                                15
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 21 of 30



created, which were themselves misleading and served to give press releases a false appearance

of substantiation).

           A. Mirman Did Not Have Motive or Opportunity to Commit Fraud

       The SEC fails to sufficiently plead that Mirman had the motive or opportunity to commit

fraud. Mirman had no opportunity to commit fraud because he had no involvement with the

sales process. As alleged, the buyers of the Outlook shares were Belesis customers. Mirman had

no motive to commit fraud because he received a commission simply for introducing Genovese

to Belesis and not for any further activity. At most, Mirman had an interest in attracting an

investment by Genovese into JTF itself. Although the SEC alleges generically that the loan by

Genovese and the sale of Genovese's stock were quid pro quos, it does not, and cannot allege any

facts to support that theory To plead motive, a plaintiff must show that the defendant would

have received a "concrete and personal benefit" from the fraud. Kalnit v. Eichler, 264 F.3d 131,

140 (2d Cir. 2001). In contrast, "a generalized motive, one which could be imputed to any

publicly-owned, for-profit endeavor, is not sufficiently concrete for purposes of inferring

scienter." Chill, 101 F.3d at 268. Speculative and conclusory allegations of motive also will not

support scienter. See Kalnit, 264 F.3d at 140.

       Although Mirman was listed as the account representative for the BGC and Look Back

accounts, the SEC fails to plead any facts that Mirman stood to receive any "concrete and

personal benefit" in that role from Genovese's fraudulent scheme.          Mirman did receive

commissions in connection with the sale of the BGC Account shares, but the mere prospect of

profiting from the sale of the shares as a representative of record is too generalized to allege

motive, particularly because the SEC pleads no facts that Mirman had the opportunity to direct

the BGC account, that he acted as a broker for the BGC Account shares, or that he solicited or

sold shares to any JTF customers. See, e.g., SEC v. Zubkis, 97 CIV 8086 JGK, 2000 WL


                                                 16
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 22 of 30



218393, at *7 (S.D.N.Y. Feb. 23, 2000) (finding motive and opportunity to defraud where

defendant not only stood to profit from sale of corporate entity's stock but also had the ability to

"direct the activities" of corporate entity and its acquirer and had "direct contact with investors").

           B. Mirman Had No Actual Knowledge of Genovese's Scheme

       The Complaint asserts that Mirman "knew" of Genovese's true level of ownership and

control of Liberty Silver, Compl. ¶¶ 54, 72, Genovese's secret payments for favorable written

coverage of Liberty Silver, id. at ¶ 5, and of Genovese's secret "wash trades," id. at ¶ 105.

However, the SEC does not allege any factual support for these conclusory allegations. While

the SEC alleges that Genovese, Mirman and Belesis "had dozens of phone calls and meetings

between August and mid-September 2012," Compl. ¶ 73, the SEC does not allege, among other

details, what was said during these calls and meetings, by who, or to whom. Rule 9(b) prohibits

precisely such pleading by innuendo. See U.S. v. Am. Intl. Group, Inc., 16-CV-5694 (KBF),

2017 WL 3610514, at *2 (S.D.N.Y. Aug. 21, 2017) ("In order to state a claim for fraud, under

Rule 9(b), [a]t a bare minimum, plaintiffs must state who said what to whom, and when and

where they said it. Shadowy and suggestive gossip-column-style innuendos do not suffice.")

(internal quotations and citation omitted). There is no dispute that Mirman knew Genovese and

was discussing investment banking business with him including the loan to JTF, or that the two

occasionally bantered with each other, or that Mirman visited Genovese's home as part of his

ordinary activities. But, there is no further inference to be drawn and certainly not the nefarious

one pleaded by the SEC.

           C. Mirman Was Not Reckless In Not Knowing About Genovese's Scheme

       The SEC further does not provide any factual basis as to how Mirman was reckless or

exhibited "an extreme departure from the standards of ordinary care." See Rolf, 570 F.2d at 47.

As alleged, both Liberty Silver and Genovese made affirmative misrepresentations and


                                                 17
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 23 of 30



omissions about Genovese's true ownership and control of Liberty Silver. Liberty Silver, for

example, failed to disclose Genovese's beneficial ownership in any SEC filing despite its

knowledge of the fraudulent scheme and its recruitment of Genovese to facilitate it. See Compl.

¶¶ 32, 41-42. Genovese similarly actively misrepresented and concealed the amount and source

of Liberty Silver shares he received from Liberty Silver and his control over the company. Id. at

¶¶ 36, 38, 40, 64. Indeed, Mirman was the recipient of much of the same misrepresentations as

the other targets of Genovese's scheme, such as the presentations Genovese gave, the articles

Genovese circulated and the Seller's Representation Letter. Id. at ¶¶ 48, 89, 94, 96.

       Similarly, the SEC alleges no factual basis to infer scienter from Mirman's de minimus

activity as an account representative with regards to the offer of the Look Back shares. Mirman's

only role with regards to the offer of the Look Back shares was to sign the Broker's

Representation Letter. The Complaint on its face pleads that Mirman had sufficient reason to

believe Genovese and Look Back were not affiliates of Liberty Silver. See id. The SEC alleges

that Genovese conspired with Liberty Silver's owners to misrepresent the level of Genovese's

control over Liberty Silver, id. at ¶ 94, 95, including by falsifying the extent of Genovese's

ownership of Liberty Silver stock in the Seller's Representation Letter and in Liberty Silver's

public filings, and by directing others to write and publish "false and misleading" promotional

information concerning Liberty Silver. Id. at ¶¶ 42, 90, 94. The SEC also does not allege that

Genovese ever disclosed to Mirman the true extent of his control over Liberty Silver stock, either

in the "dozens" of phone calls and meetings Mirman had with Genovese, id. at ¶¶ 68, 73, or in

the several presentations he made at JTF, id. at ¶¶ 67, 75.

       The SEC's repeated conclusory assertions that Mirman "knew or was reckless in not

knowing" about various aspects of Genovese's alleged secret scheme, see, e.g., Compl. at ¶¶ 5,




                                                18
           Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 24 of 30



54, 72, 105, are similarly insufficient. See Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1129

(2d Cir. 1994) ("[C]onclusory allegations – that Defendants 'knew but concealed' some things, or

'knew or were reckless in not knowing' other things – do not satisfy the requirements of Rule

9(b).").

           The SEC also fails to plead scienter based on its allegation that Mirman ignored "multiple

'red flags' indicative of a distribution," id. at ¶ 98, because (1) it fails to plead with particularity

any facts that Mirman was aware of certain "red flags," and (2) even if Mirman was aware of

purported "red flags," his disregard for those red flags must rise to the level of recklessness or

willful blindness. Disregard of red warning flags can support an inference of scienter based on

recklessness or willful blindness where the defendant's conduct is "highly unreasonable and . . .

represents an extreme departure from the standards of ordinary care . . . to the extent that the

danger was either known to the defendant or so obvious that the defendant must have been aware

of it." Chill, 101 F.3d at 269 (citation omitted). Red flags are insufficient to allege scienter

where the plaintiff does not plead facts showing that the defendant was aware of the alleged red

flags. See, e.g., Saltz v. First Frontier, LP, 782 F. Supp. 2d 61, 71 (S.D.N.Y. 2010) (stating that

the red flag theory of scienter "has been routinely rejected where . . . Plaintiffs offer no evidence

Defendants were aware of most red flags, and those of which Defendants were aware, were not

so serious as to infer intent to defraud"). Even if the defendant was aware of the red flags, the

plaintiff still must allege facts that the defendant "then translated those red flags into a suspicion

of fraud" such that the defendant's disregard for the red flags supports an inference of

recklessness or willful blindness. See Prickett v. New York Life Ins. Co., 896 F. Supp. 2d 236,

246 (S.D.N.Y. 2012).

           The SEC alleges Mirman ignored the following "red flags":




                                                  19
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 25 of 30



1. Genovese was a stock promoter, Compl. ¶ 98;

2. Genovese was proposing to sell 13.1 million Liberty Silver shares, "amounting to over 16%"
   of Liberty Silver's outstanding common shares and an "even higher percentage of the public
   float of non-restricted shares," id.;

3. Liberty Silver was a thinly-traded penny stock, id.;

4. The sale of the BGC Account shares and the offer of the Look Back shares occurred "within
   days of the transfer and deposit of the shares," id.;

5. Genovese "beneficially owned shares and/or controlled brokerage accounts under multiple
   different corporate names," including BGC, Look Back and Outlook, id.;

6. Genovese had acquired "over 2 million shares from an 'original guy'" in the Liberty Silver
   deal, which the SEC alleges raises questions about "whether a large block of Genovese's
   shares had been acquired from a member of the original [Liberty Silver] control group, with a
   view to distributing them," id.;

7. Genovese and BGC were engaged in "promotional activity" for the Liberty Silver shares
   "while simultaneously selling [Liberty Silver] securities," id.;

8. "[O]ther suspicious activity," including that Mirman allegedly had been "present when
   Genovese offered to make a kickback to Belesis in exchange for selling his [Liberty Silver]
   shares," id.

   None of these "red flags," individually or in the aggregate, create an inference that Mirman

acted recklessly or was willfully blind to Genovese's fraudulent scheme, let alone that he had

actual knowledge of that scheme. Here, there is a complete lack of any facts or allegation that

Mirman knew or would have known that Genovese exerted the degree of control alleged by the

SEC. To all outward appearances, Liberty Silver was managed by its officers and directors and

Genovese was an enthusiastic and interested investor who was willing to sell some of his shares.

Mirman's attending a meeting where Genovese allegedly offered Belesis a "kickback"               in

exchange for selling his shares similarly fails to support any inference of recklessness. It is not

clear whether that word was even used in the meeting or is simply a reflection of the SEC's

enthusiasm for its case. There is no allegation that anything came of the offer, if it was made.




                                                20
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 26 of 30



The SEC does not allege specifically what was said during this meeting, by who, and to whom.

To the extent that there was nothing more than a discussion about whether Belesis would use the

proceeds of his legitimate stock sales to make an investment in JTF, it is not even clear that there

would be anything wrong with that, assuming proper disclosures and an appropriate structure.

As to the other "red flags," even if Mirman knew that Genovese was a stock promoter, that

Liberty Silver was a penny stock, or that Genovese was engaged in "promotional activity" for the

Liberty Silver shares, the SEC fails to specify how these "red flags" reveal any details

concerning Genovese's fraudulent scheme, whether Mirman translated those red flags into a

suspicion of Genovese's fraud, how he was required to respond to the red flags, or whether his

supposed disregard for these red flags was in any way reckless or willfully blind. See, e.g., In re

CBI Holding Co., Inc., 419 B.R. 553, 568 (S.D.N.Y. 2009) (defendant's ignoring red flags was

not reckless because the red flags did not reveal any details of the fraud).

       The SEC's further conclusory allegation that Mirman "should have known . . . that the

[Look Back] sale was part of a distribution," Compl. at ¶ 98, is on its face insufficient to

establish recklessness. It is well established in the Second Circuit that "an allegation that a

defendant merely ought to have known is not sufficient to allege recklessness." See, e.g., SEC v.

Wey, 246 F. Supp. 3d 894, 912 (S.D.N.Y. 2017) (quoting Hart, 145 F. Supp. 2d at 368)); see also

Pope Investments II, LLC v. Deheng L. Firm, 10 CIV. 6608 LLS, 2013 WL 3946126, at *6

(S.D.N.Y. July 31, 2013) (allegations that defendant "failed to investigate," or "was obliged to

disclose," or "should have known" certain facts concerning fraud "were insufficient [to allege

scienter] because plaintiffs did not allege what sources of information would have revealed to

[defendant] the intended fraud").




                                                 21
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 27 of 30



III.    THE SEC DOES NOT ADEQUATELY ALLEGE THAT MIRMAN
        AIDED AND ABETTED VIOLATIONS OF SECTION 17(A)(1) AND (3)
        AND SECTION 10(B) AND RULE 10B-5(A) AND (C)

         The SEC also fails to adequately allege that Mirman aided and abetted Genovese's

alleged violations of Section 17(a), Section 10(b) and Rule 10b-5(a) because it fails to plead any

particularized facts that (1) Mirman knew about Genovese's fraudulent scheme, or (2) that he

substantially assisted in that scheme. Aiding and abetting liability requires a showing of: "(1) the

existence of a securities law violation by the primary wrongdoer; (2) knowledge of the violation

by the aider and abettor; and (3) proof that the aider and abettor substantially assisted in the

primary violation." SEC v. Pimco Advisors Fund Mgmt. LLC, 341 F. Supp. 2d 454, 467-68

(S.D.N.Y. 2004) (citations and quotations omitted).

               A. Mirman Had No Actual Knowledge of Genovese's Scheme

        Conclusory assertions that Mirman "knew" or "should have known" about various aspects

of Genovese's scheme are insufficient to allege knowledge. See Shields, 25 F.3d at 1128-29; see

also Shanghai Weiyi Intern. Trade Co., Ltd. v. Focus 2000 Corp., 15 CIV. 3533 CM, 2015 WL

6125526, at *3 (S.D.N.Y. Oct. 16, 2015) (dismissing aiding and abetting claims where plaintiff

did not allege "how [defendant] could have known that the [co-defendants] intended to deceive

Plaintiff") (emphasis in original). Allegations that Mirman "made no inquiry" into the status of

the Look Back shares, Compl. at ¶ 98, are also insufficient to establish any inference of

knowledge. See Shanghai Weiyi Intern. Trade Co., Ltd., 2015 WL 6125526, at *3 (defendant's

alleged failure to investigate "hardly gives rise to any inference that such investigation would

have yielded knowledge that any of the [co-defendants] were perpetrating a fraud on the

Plaintiff").




                                                22
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 28 of 30



           B. Mirman Did Not Substantially Assist Genovese's Scheme

       The SEC also fails to sufficiently plead that Mirman provided substantial assistance to

Genovese's scheme because it does not allege any conduct by Mirman that was intended to aid or

that actively aided Genovese's fraudulent scheme. Substantial assistance requires a showing that

the defendant "associate[d] himself with the venture, that he participate[d] in it as in something

that he wishe[d] to bring about, [and] that he [sought] by his action to make it succeed." SEC v.

Mudd, 885 F. Supp. 2d 654, 670–71 (S.D.N.Y. 2012) (quoting SEC v. Apuzzo, 689 F.3d 204, 206

(2d Cir. 2012)). In other words, the defendant must "consciously assist[ ] the commission of the

specific crime in some active way." Id. "Inaction on the part of the alleged aider and abettor

ordinarily should not be treated as substantial assistance, except when it was designed

intentionally to aid the primary fraud or it was in conscious and reckless violation of a duty to

act." Id. (quoting Armstrong v. McAlpin, 699 F.2d 79, 91 (2d Cir. 1983)).

       The SEC fails to allege any acts by Mirman that would show substantial assistance of

Genovese's fraud. Making a complimentary introduction, listening to what Genovese said,

receiving information from Genovese and forwarding it passively to his boss, Belesis, who had

his own relationship with Genovese hardly rises to the level of substantial assistance. Inaction

generally does not constitute substantial assistance. See Ross v. Bolton, 639 F. Supp. 323, 327

(S.D.N.Y. 1986) (substantial assistance requirement not met where there was no duty to act).

See JP Morgan Chase Bank v. Winnick, 406 F. Supp. 2d 247, 258 (S.D.N.Y. 2005) (defendant's

attendance at meetings and receipt of emails "cannot suffice to show his assistance to the fraud").

IV.    THE SEC DOES NOT ADEQUATELY ALLEGE THAT MIRMAN
       WAS NEGLIGENT UNDER SECTION 17(A)(3)

       The SEC fails to adequately allege that Mirman was negligent under Section 17(a)(3)

because it pleads no facts that Mirman knew, or by the exercise of reasonable care could have



                                                23
        Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 29 of 30



known, about (1) the true extent of Genovese's beneficial ownership, or (2) the existence of

Genovese's fraudulent scheme. To plead a violation of Section 17(a)(3), the SEC must allege

that Mirman was at least negligent. SEC v. Ginder, 752 F.3d 569, 574 (2d Cir. 2014). Although

the Second Circuit has not determined the standard of care that governs a negligence claim under

Section 17(a)(3), some district courts have held that the definition of negligence under this

section is "the failure to use reasonable care, which is the degree of care that a reasonably careful

person would use under like circumstances." Wey, 246 F. Supp. 3d at 912–13 (internal quotations

and citation omitted).

       The SEC does not sufficiently allege that Mirman failed to use reasonable care under the

circumstances. For example, the SEC alleges that Mirman signed the Broker's Representation

Letter that led Liberty Silver's counsel to remove the restrictive legend from the Look Back

shares. Compl. at ¶ 96. However, as discussed in Sec. I.B., supra, the Broker's Representation

Letter relied on the Seller's Representation Letter directly provided by Liberty Silver, and was

part of a coordinated fraudulent scheme by Genovese and Liberty Silver to misrepresent the true

extent of Genovese's ownership of Liberty Silver. As the SEC does not allege that Mirman's

reliance on the Seller's Representation Letter was unreasonable, Mirman's signing of the Broker's

Representation Letter is insufficient to allege negligence.

       Mirman's alleged failure to inquire into the status of the Look Back shares, id. at 98, is

insufficient to plead negligence, since the SEC does not allege that any such inquiry could have

reasonably led to the discovery of information concerning Genovese's beneficial ownership.

Indeed, the SEC alleges that Genovese and Liberty Silver actively sought to conceal this

information as part of their scheme to promote and manipulate Liberty Silver stock. Id. at ¶¶ 31,

33, 94. Additionally, Mirman's "experience as a broker in the penny stock industry," id. at ¶ 98,




                                                 24
         Case 1:17-cv-05821-RJS Document 24 Filed 02/02/18 Page 30 of 30



is wholly irrelevant to any allegation that Mirman failed to exercise reasonable care under the

circumstances because, regardless of Mirman's industry experience, the SEC alleges no facts that

Mirman knew or should have known about Genovese's alleged fraudulent scheme.                  Cf.

Tarsavage v. Citic Tr. Co., Ltd., 3 F. Supp. 3d 137, 145–46 (S.D.N.Y. 2014) (rejecting allegation

that based on its "size and asserted sophistication" defendant "could have or 'would have' known

of the fraud").

                                        CONCLUSION

       For the foregoing reasons, Mr. Mirman respectfully requests that the Court dismiss the

SEC's Complaint.

Dated: New York, New York
       February 2, 2018

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                                               25
